                  Case 23-11131-TMH            Doc 907       Filed 12/14/23        Page 1 of 3




                          IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE


In re:                                                                Chapter 11

AMYRIS, INC., et al.,                                                 Case No. 23-11131 (TMH)

                                   Debtors.1                          (Jointly Administered)


 ORDER ESTABLISHING SCHEDULE AND PROTOCOLS IN CONNECTION WITH
(1) DEBTORS’ OBJECTION TO CLAIM NOS. 663 AND 666 FILED BY LAVVAN, INC.
 AND (2) MOTION TO ESTIMATE LAVVAN INTELLECTUAL PROPERTY CLAIMS

         On December 7, 2023, the debtors in the above-captioned chapter 11 cases (the “Debtors”)

filed the Debtors’ Objection to Claim Nos. 663 and 666 Filed By Lavvan, Inc. [D.I. 839] (the

“Claim Objection”) and the Motion to Estimate Lavvan Intellectual Property Claims [D.I. 840]

(the “Motion to Estimate”).2

         Upon consideration of the agreement of the parties with respect to the schedule and

protocols in connection with the Claim Objection and Motion to Estimate, as set forth below;; and

the Court having determined that there exists just cause for the relief granted herein; and after due

deliberation and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

         1.        The schedule and protocols set forth below shall govern the proceedings on the

Claim Objection and Motion to Estimate.

         2.        Lavvan Responses: The deadline for Lavvan to respond, or object, to the Claim

Objection and to file a preliminary response to the Motion to Estimate is extended until December


1
    A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
    claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris, Inc.’s principal
    place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100,
    Emeryville, CA 94608.
2
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Claim
    Objection and/or Motion to Estimate, as applicable.




LA:4854-1964-6870.5 03703.004
                  Case 23-11131-TMH        Doc 907     Filed 12/14/23    Page 2 of 3




27, 2023, at 4:00 p.m. (ET) (the “Lavvan Responses”). Any response by Lavvan to the Claim

Objection and Motion to Estimate may be supplemented following discovery. The deadline for

any such supplemental response shall be determined in accordance with paragraph 7 hereof.

         3.        Debtors’ Reply: The Debtors shall have until January 5, 2024, to file a reply to

each of the Lavvan Responses. The deadline for the Debtors’ reply to any supplemental response

by Lavvan to the Claim Objection and Motion to Estimate shall be determined in accordance with

paragraph 7 hereof.

         4.        Lavvan Discovery: Lavvan shall submit all requests for production of documents,

interrogatories and requests for admission related to the Claim Objection and Motion to Estimate

by December 29, 2023. Additional discovery deadlines shall be determined in accordance with

paragraph 7 hereof.

         5.        Hearing on Scope of Secured Obligations: In connection with the Claim Objection

and Motion to Estimate, a hearing has been scheduled for January 9, 2024, at 11:00 a.m. (ET), to

be conducted by Zoom, to address the legal question of whether the claims asserted by Lavvan in

the SDNY or the profit disgorgement award by the ICC constitute “Secured Obligations” (as

defined under the May 2019 Security Agreement) (the “Hearing on Scope of Secured

Obligations”).

         6.        Factual Disputes at Confirmation: To the extent necessary following the Hearing

on Scope of Secured Obligations, a further hearing with respect to the Claim Objection and the

Motion to Estimate shall be conducted at the Confirmation Hearing to determine: (a) the extent

and value of Lavvan’s interest in the “Intellectual Property Collateral” (as defined under the May

2019 Security Agreement), and (b) the amount, if any, of the profit disgorgement award by the




LA:4854-1964-6870.5 03703.004                      2
                  Case 23-11131-TMH         Doc 907      Filed 12/14/23     Page 3 of 3




ICC (if such award constitutes a “Secured Obligation” as defined under the May 2019 Security

Agreement.

         7.        Other Scheduling. The parties shall meet and confer during the week of January 2,

2024, to address the scheduling for the resolution of any issues raised by the Claim Objection and

Motion to Estimate not otherwise addressed herein, if any, that may be presented by the Lavvan

Responses.

         8.        Any deadline set forth above may be extended by order of the Court and, other than

the dates for the Hearing on Scope of Secured Obligations and Confirmation Hearing, may be

extended without order of the Court upon the written agreement of the Debtors, Lavvan and Foris

Ventures, LLC, which agreement may be reflected by email.

         9.        The Bankruptcy Code, the Bankruptcy Rules, and the Local Bankruptcy Rules

apply to the Claim Objection and Motion to Estimate. To the extent there is a conflict between

any of the foregoing and this Order, this Order shall govern.

         10.       This Court shall retain jurisdiction over any and all matters arising from or related

to the implementation of this Order.




       Dated: December 14th, 2023                     THOMAS M. HORAN
       Wilmington, Delaware                           UNITED STATES BANKRUPTCY JUDGE




LA:4854-1964-6870.5 03703.004                        3
